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  Via ECF

  June 3, 2024

  Honorable Rukhsanah L. Singh, U.S. Magistrate Judge
  United States District Court- District of NJ
  Clarkson S. Fisher Building & U.S. Courthouse
  402 East State Street, Court Room 7W
  Trenton, NJ 08608
  Re:       In re: Johnson & Johnson Talcum Powder Products Marketing, Sales
            Practices and Products Liability Litigation - MDL 2738
  The Johnson & Johnson Defendants submit the enclosed Order to Show Cause why
 cases listed on the attached Exhibit A should not be dismissed with prejudice for their
 failure to serve a Plaintiff Profile Form (“PPF”) pursuant to the process set up in the
 Case Management Order dated February 13, 2024 (ECF 29032).
         As Your Honor is aware, this Court originally ordered all Plaintiffs to submit
 Plaintiff Profile Forms on MDL-Centrality by dates certain in the Amended Plaintiff’s
 Profile Form Order (ECF 27291). Pursuant to that Order, the cases listed on the
 enclosed Exhibit A were required to submit PPFs as follows: 2018 cases were due
 December 15, 2023; 2019 cases were due February 15, 2024; and the 2023 cases listed
 were due ninety (90) days after filing their complaints. However, these Plaintiffs failed
 to file their PPFs by those deadlines and to date have not provided Defendants with a
 PPF.

        Counsel for these Plaintiffs have received notice on MDL-Centrality (if
 registered) and via e-mail (whether registered or not) informing them that they had
 failed to serve a PPF. Pro se Plaintiffs were sent notice via regular mail and certified
 mail, return receipt requested. The Plaintiffs were then listed in a filing on April 1,
 2024 (ECF 30612) noting their failure to provide a PPF to Defendants and that their
 continued failure to do so would potentially result in dismissal of their matter. These
 Plaintiffs were listed again on the May 1, 2024 (ECF 32127) filing.
           The Plaintiffs listed in Exhibit A still have not complied with the Court Orders
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 requiring service of a PPF. The Court’s February 13, 2024, Order is clear- Plaintiffs
 who continue to fail to provide a PPF, after being listed in a PPF Report to the Court
 over a period of 60 days, shall be subject to an Order to Show Cause why their case
 should not be dismissed with prejudice. Before making this submission, the Plaintiffs’
 lead counsel was provided with an opportunity to review and edit. Their edits to the
 Order were accepted but Defendants did not hear back on this proposed list of cases.

        The Court should not hesitate to order the noted Plaintiffs to show cause why
 their case should not be dismissed with prejudice. In the event a Plaintiff fails to show
 cause, and her case is dismissed with prejudice, Fed. R. Civ. P. 60(b) provides an
 avenue of relief should the circumstances surrounding the failure to provide a PPF
 justify reversal of the dismissal. There is simply no reason to permit Plaintiffs any
 additional time to serve PPFs in light of the safety net provided by Rule 60.
       Accordingly, Defendants respectfully request Your Honor enter the attached
 Order to Show Cause and dismiss any matter, with prejudice, which fails to show cause
 why their case should not be dismissed for their continued and blatant failure to serve a
 PPF.
        Thank you for your consideration of these matters.


                                                 Respectfully,
                                                 /s/ Susan M. Sharko
                                                 Susan M. Sharko
                                                 FAEGRE DRINKER BIDDLE & REATH
                                                 LLP

                                                 Attorneys for Defendants
                                                 Johnson & Johnson and
                                                 LLT Management, LLC

 SMS/scg
 Encl: (1)
 Cc: Leigh O’Dell, Esq. (via email)
    Michelle Parfitt, Esq. (via email)
    All counsel of record (via ECF)
